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ALAN R. SMITH, ESQ.
Nevada Bar No. 1449
HOLLY E. ESTES, ESQ.

Nevada Bar No. 11797 ELECTRONICALLY FILED
Law Offices of Alan R. Smith March 24, 2014
505 Ridge Street

Reno, Nevada 89501
Telephone (775) 786-4579
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E-mail: mail@asmithlaw.com

Attorney for Debtors
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0000—
In Re: Case No. BK-N-14-50333-BTB
ANTHONY THOMAS and Chapter 11
WENDI THOMAS,

EX PARTE MOTION FOR ORDER

Debtors, SHORTENING TIME FOR NOTICE
AND HEARING ON MOTION FOR
AUTHORITY TO PAY ORDINARY
MONTHLY LIVING EXPENSES
NUNC PRO TUNC

Hearing Date: OST Pending
Hearing Time: OST Pending
Debtors, ANTHONY THOMAS and WENDI THOMAS, by and through their
counsel, Holly E. Estes, Esq., hereby move this Court for an order shortening time for
notice and hearing on the Debtors’ Motion For Authority To Pay Ordinary Monthly
Living Expenses Nunc Pro Tunc (the “Motion”) filed on March 24, 2014, a copy of
which is attached hereto as Exhibit “A.”
Pursuant to the Motion, the Debtors seek an order authorizing the Debtors’
payment of ordinary monthly living expenses nunc pro tunc. Ordinary notice

requirements cannot be met without an order shortening time for a hearing to approve

Debtors’ payment of ordinary monthly living expenses nunc pro tunc.

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Local Rule 9021 provides that the Court may shorten time in appropriate
circumstances for good cause. Based upon the foregoing, Debtors believe that good
cause exists for shortening time for notice and hearing of the Debtors’ Motion For
Authority To Pay Ordinary Monthly Living Expenses Nunc Pro Tunc. The Debtors’
attorney (or her designated employee) has contacted the principal parties affected by the
subject Motion and their agreement and comments are in the ATTORNEY
INFORMATION SHEET filed separately.

WHEREFORE, Debtors respectfully request that the Court shorten the time for
notice of hearing on the Motion For Authority To Pay Ordinary Monthly Living Expenses
Nunc Pro Tunc, and that the hearing on said Motion be set as soon as possible and as is
convenient to the Court’s calendar.

Dated this 24" day of March, 2014.

LAW OFFICES OF ALAN R. SMITH
By: /s/ Holly E. Estes

HOLLY E. ESTES, ESQ.
Attorney for Debtors

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Exhibit “A”
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Attorney for Debtors
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0o00—

In Re: Case No. BK-N-14-50333-BTB
ANTHONY THOMAS and Chapter 11

WENDI THOMAS,

MOTION FOR AUTHORITY TO PAY
Debtors, ORDINARY MONTHLY LIVING

EXPENSES NUNC PRO TUNC
Hearing Date: OST Pending
/ Hearing Time: OST Pending
Debtors, ANTHONY THOMAS and WENDI THOMAS (the “Debtors”), by and through
their counsel Holly E. Estes, Esq., of the Law Offices of Alan R. Smith, hereby file their Motion
For Authority To Pay Ordinary Monthly Living Expenses Nunc Pro Tunc. This motion is based
upon the Declaration of Anthony Thomas, the following points and authorities, pleadings, papers
and other records contained in this Court’s file, judicial notice of which is respectfully requested,
and any evidence or oral argument presented at the time of the hearing on this motion.
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MEMORANDUM OF POINTS OF AUTHORITIES
I. BACKGROUND FACTS

1. On March 4, 2014 (the “Petition Date”), the Debtors filed their voluntary petition
for relief under Chapter 11 of the Bankruptcy Code.’

2. The Debtors are authorized to manage their affairs as Debtors-in-Possession
pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code.

Il. JURISDICTION AND VENUE

3. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and 1134.
This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (M).

4, The statutory basis for the relief sought herein are Sections 105, 1107 and 1108 of
the Bankruptcy Code, Bankruptcy Rules 6003 and 6004, and LR 4001(c).

5. Venue of the Debtors’ Chapter 11 case in this district is proper pursuant to 28
U.S.C. § 1408 and 1409.

I. LEGAL ARGUMENT

A. Applicable legal authorities.

Section 541 defines property of the estate to include nearly all of the Debtors’ property
rights and interests. In the case of an individual Chapter 11 debtor, 11 U.S.C. § 1115 further
expands the definition of property of the estate to include the debtor’s post-petition earnings, and
specifically provides:

(a) In a case in which the debtor is an individual, property of the estate
includes, in addition to the property specified in section 541-

(1) all property of the kind specified in section 541that the debtor
acquires after the commencement of the case but before the case is
closed, dismissed, or converted to a case under Chapter 7, 12, or 13,
whichever occurs first; and

(2) earnings from services performed by the debtor after the

 

‘All references to “Chapter” and “Section” herein shall be to the Bankruptcy Code
appearing in Title 11 of the U.S. Code; all references to “Bankruptcy Rule” shall refer to the
Federal Rules of Bankruptcy Procedure; all references to a “Local Rule” shall refer to the
Local Rules of Bankruptcy Practice of the U.S. District Court for the District of Nevada.

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commencement of the case but before the case is closed, dismissed,
or converted to a case under Chapter 7, 12, or 13, whichever occurs
first.

(b) — Except as provided in section

Neither the Code nor the legislative history provide any guidance as to whether or how an
individual Chapter 11 debtor may retain any post-petition income to pay his or her ordinary
course of business and living expenses prior to plan confirmation.

Section 1129(a)(15) provides:

In a case in which the debtor is an individual and in which the holder
of an allowed unsecured claim objects to the confirmation of the plan-

(A) the value, as of the effective date of the plan, of the property to
be distributed under the plan on account of such claim is not less than the
amount of such claim; or

(B) the value of the property to be distributed under the plan is not
less than the projected disposable income of the debtor (as defined in section
1325(b)(2) to be received during the 5-year period beginning on the date that
the first payment is due under the plan, or during the period for which the
plan provides payments, whichever is longer.

Section 1325(b)(2) allows for an individual debtor to include as a deduction against
disposable income those costs that are reasonably necessary for the “maintenance and support of
the debtor or a dependant of the debtor” and necessary business expenses. “Disposable income”
is defined as, “current monthly income received by the debtor. . .less amounts reasonably
necessary to be expended for the maintenance or support of the debtor or a dependent of the
debtor. . ..”

Accordingly, in determining the amount of a debtor’s disposable income that must be
distributed to creditors under a plan of reorganization, one must first deduct those amounts
required to pay the debtor’s reasonably necessary personal and business expenses. See In re
Rodemeier, 374 B.R. 264 (Bankr. D. Kans. 2007).

Further, since an individual debtor is permitted to pay his or her reasonably necessary
personal and business expenses from post-petition earnings under his or her plan of

reorganization, they should also be permitted to use their post-petition earnings and income to

pay their ordinary course personal and business expenses post-petition and pre-confirmation.

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VI. Conclusion
The Debtors respectfully request that this Court approve their use of post-petition
earnings to pay their reasonably necessary living expenses nunc pro tunc. The Debtors’ budget is
attached to the Declaration of Anthony Thomas.
DATED this 21* day of March, 2014.
LAW OFFICES OF ALAN R. SMITH

/s/ Holly E. Estes
By:

 

Holly E. Estes, Esq.
Attorney for Debtors

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